Case No. 1:24-cr-00251-RMR        Document 75      filed 09/11/24    USDC Colorado        pg 1
                                          of 7




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Regina M. Rodriguez


Criminal Action No. 1:24-cr-251-RMR

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. RONALD KING,
2. VICTOR ROITER,
3. TINA WELLMAN,
4. ADAM SHORR,
5. ROBERT O’SULLIVAN
6. BRADLEY EDSON, and
7. JOHN GAUTEREAUX,

       Defendants.



                                    AMENDED ORDER


       This matter is before the Court on Defendant Adam Shorr’s Unopposed Joint

Motion to Declare Case as Complex and Exclude Time (ECF No. 71). Defendant Shorr’s

Joint Motion requests that the Court declare this case complex, pursuant to the Speedy

Trial Act, Title 18, United States Code, Sections 3161, et seq., and continue any pretrial

deadlines and trial for an initial period of 120 days and exclude any resulting pretrial delay

from calculating deadlines. Counsel states he consulted with the Defendants who have

appeared, as well as counsel for the United States, and they join the motion. For the

following reasons, the Motion is GRANTED.




                                              1
Case No. 1:24-cr-00251-RMR       Document 75       filed 09/11/24    USDC Colorado       pg 2
                                         of 7




       The Speedy Trial Act is “designed to protect a defendant's constitutional right to a

speedy indictment and trial, and to serve the public interest in ensuring prompt criminal

proceedings.” United States v. Hill, 197 F.3d 436, 440 (10th Cir. 1999). It requires that

a criminal defendant’s trial commence within 70 days after his indictment or initial

appearance, whichever is later. See 18 U.S.C. § 3161(c)(1); United States v. Lugo, 170

F.3d 996, 1001 (10th Cir. 1999). Certain periods of delay are excluded and do not count

toward the 70-day limit. See 18 U.S.C. § 3161(h)(1)-(8). Among the authorized delays,

“the Act excludes any period of delay ‘resulting from a continuance granted by any judge

. . . on the basis of its findings that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.’” Hill, 197

F.3d at 440-441 (quoting 18 U.S.C. § 3161(h)(7)(A)).

       The Speedy Trial Act provides, in pertinent part:

       The following periods of delay shall be excluded . . . in computing the time
       within which the trial of any such offense must commence:

       ....

       (7)(A) Any period of delay resulting from a continuance granted by any
       judge . . . at the request of the defendant or his counsel or at the request of
       the attorney for the Government, if the judge granted such continuance on
       the basis of his findings that the ends of justice served by taking such action
       outweigh the best interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A).

       In order for a continuance to qualify as an excludable “ends of justice” continuance

under § 3161(h)(7)(A), certain prerequisites must be satisfied. Hill, 197 F.3d at 441. First,

the Court must consider the following factors listed in § 3161(h)(7)(B):




                                             2
Case No. 1:24-cr-00251-RMR         Document 75       filed 09/11/24     USDC Colorado        pg 3
                                           of 7




       (i) Whether the failure to grant such a continuance in the proceeding would
       be likely to make a continuation of such proceeding impossible, or result in
       a miscarriage of justice;

       (ii) Whether the case is so unusual or so complex, due to the number of
       defendants, the nature of the prosecution, or the existence of novel
       questions of fact or law, that it is unreasonable to expect adequate
       preparation for pretrial proceedings or for the trial itself within the time limits
       established by [the Act];

       (iii) Whether, in a case in which arrest precedes indictment, delay in the
       filing of the indictment is caused because the arrest occurs at a time such
       that it is unreasonable to expect return and filing of the indictment within the
       period specified in section 3161(b), or because the facts upon which the
       grand jury must base its determination are unusual or complex;

       (iv) Whether the failure to grant such a continuance in a case which, taken
       as a whole, is not so unusual or so complex as to fall within clause (ii), would
       deny the defendant reasonable time to obtain counsel, would unreasonably
       deny the defendant or the Government continuity of counsel, or would deny
       counsel for the defendant or the attorney for the Government the
       reasonable time necessary for effective preparation, taking into account the
       exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)–(iv).

       After considering these factors, the Court must then set forth, "in the record of the

case, either orally or in writing, its reasons for finding that the ends of justice served by

the granting of such continuance outweigh the best interests of the public and the

defendant in a speedy trial." Hill, 197 F.3d at 441; § 3161(h)(7)(A). Although the Court’s

findings “may be entered on the record after the fact, they may not be made after the

fact.” Hill, 197 F.3d at 441 (quoting United States v. Doran, 882 F.2d 1511, 1516 (10th

Cir.1989)). “Instead, ‘[t]he balancing must occur contemporaneously with the granting of

the continuance because Congress intended that the decision to grant an ends-of-justice




                                               3
Case No. 1:24-cr-00251-RMR        Document 75      filed 09/11/24    USDC Colorado        pg 4
                                          of 7




continuance be prospective, not retroactive[.]’” Id. (quoting Doran, 882 F.2d at 1516). The

Court has discharged these duties.

       As background information, the Grand Jury returned an indictment in this matter

on August 21, 2024. ECF No. 1. The Indictment alleges a wire fraud conspiracy against

Defendants Shorr, King, Roiter and Wellman (Count 1), a “kickback” conspiracy against

all Defendants (Count 2), and a money laundering conspiracy against Defendants King,

Roiter and Wellman (Count 3). Counts 1 and 2 allege conspiracies from January 2020 to

at least December 2022. Count 3 alleges a conspiracy from January 2020 to December

2021. Id.

       Counsel states that the Government is set to disclose its first production on or

about September 20, 2024. ECF No. 36 at 9. The Government notes that discovery is

voluminous and will be made on a rolling production. Id. Counsel for Defendant Shorr

states that the Government indicated, in an email, that more than 480,000 documents will

be included in its first production, but that production will not include items seized from

electronic devices (cellphones and computers).

       Counsel indicated that the discovery to be provided by the Government in this case

is sufficiently complex and voluminous that it would be unreasonable to expect the parties

to adequately prepare for pretrial proceedings or for trial within the time limits established

by either the Speedy Trial Act or the Court’s ordinary scheduling and discovery orders.

       Counsel further state that they require additional time to review discovery; confer

with their clients, other defense counsel and government counsel; plan and manage

investigations; evaluate materials for potential pretrial motions; consider, research and



                                              4
Case No. 1:24-cr-00251-RMR        Document 75      filed 09/11/24   USDC Colorado        pg 5
                                          of 7




hire expert witnesses; and anything else required for each defense counsel to provide his

or her client with effective assistance of counsel. They further state that the requested

continuance will not inconvenience the opposing party nor the Government.

       The Court is sensitive to and mindful of the teachings of relevant case law,

including the principles and holdings in Bloate v. United States, 559 U.S. 196 (2010);

United States v. Larson,627 F.3d 1198, (10th Cir. 2010); United States v. Toombs, 574

F.3d 1262 (10th Cir. 2009); and United States v. Williams, 511 F.3d 1044 (10th Cir. 2007).

       On the basis of the foregoing, the Court finds and concludes that this matter is

complex within the meaning of the Speedy Trial Act (18 U.S.C. § 3161(h)(7)(B)(ii)). The

Court further finds that it is unreasonable to expect adequate preparation for pretrial

proceedings and the trial itself with the time limits otherwise set by the Act. Additionally,

the Court finds and concludes that the ends of justice served by the granting of additional

excludable time herein outweigh the best interests of the public and the Defendant in a

speedy trial.

       The Court has considered the factors which it must under 18 U.S.C.

§ 3161(h)(7)(B)(i)–(iv). As required by 18 U.S.C. § 3161(h)(7)(C), the Court has not

predicated its ruling on congestion of the Court’s calendar or lack of diligent preparation

by counsel.

       Accordingly, the Court FINDS that:

       (1)      This case is complex within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii);

       (2)      Failure to grant a continuance of trial beyond the time prescribed by 18
                U.S.C. § 3161(c) would likely result in a miscarriage of justice, within the
                meaning of 18 U.S.C. § 3161(h)(7)(B)(i);



                                              5
Case No. 1:24-cr-00251-RMR     Document 75      filed 09/11/24   USDC Colorado       pg 6
                                       of 7




      (3)   Even were the case not complex, and considering due diligence, failure to
            grant the motion would deny counsel for Defendant the reasonable time
            necessary for effective pretrial and trial preparation within the meaning of
            18 U.S.C. § 3161(h)(7)(B)(iv); and

      (4)   Therefore, the ends of justice served by granting the motion outweigh the
            best interests of the public and Defendant in a speedy trial within the
            meaning of 18 U.S.C. § 3161(h)(7)(A).

      THEREFORE, IT IS HEREBY ORDERED that:

      (1)   Defendant Shorr’s Unopposed Joint Motion to Declare Case Complex and
            Exclude Time, at ECF No. 71, is GRANTED;

      (2)   The 70-day clock, exclusive of tolled time, shall accordingly be
            extended from November 14, 2024, to March 13, 2025;

      (3)   The current trial date and all pretrial deadlines and settings are hereby
            VACATED. The 5-week jury trial is reset for March 10, 2025. The Trial
            Preparation Conference/Change of Plea Hearing is reset for March 5, 2025,
            at 3:00 PM;

      (4)   Defendants shall have to and including February 3, 2025, to file pretrial
            motions, and responses to these motions shall be filed by February 17,
            2025. If no motions are filed by February 3, 2025, the Court will deem
            Defendants to have waived any such motions. If counsel believe an
            evidentiary hearing on motions is necessary, they shall confer and email
            Chambers at Rodriguez_Chambers@cod.uscourts.gov by February 19,
            2025; and

      (5)   The      parties    are     directed     to     contact     Chambers       at
            Rodriguez_Chambers@cod.uscourts.gov by the close of business
            September 20, 2024, to set this matter for a status conference. The parties
            are to be prepared to discuss the status of discovery, defense investigation,
            pretrial motions deadlines and trial dates at that Status Conference.




                                          6
Case No. 1:24-cr-00251-RMR   Document 75    filed 09/11/24   USDC Colorado   pg 7
                                     of 7




Dated: September 11, 2024.


                                            BY THE COURT:



                                            ______________________________
                                            REGINA M. RODRIGUEZ
                                            United States District Judge




                                      7
